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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA
WILLIAM C. TOTH JR., et al.,             :    Civil No. 1:22-CV-00208
                                         :
            Plaintiffs,                  :    Three Judge Panel Convened
                                         :    Pursuant to 28 U.S.C. § 2284(a)
            v.                           :
                                         :
LEIGH M. CHAPMAN, et al.,                :
                                         :
            Defendants.                  :
                                         :
            v.                           :
                                         :
CAROL ANN CARTER, et al.,                :
                                         :
            Intervenor-Defendants.       :

                                     ORDER

BEFORE: Kent A. Jordan, Circuit Judge, United States Court of Appeals for the
Third Circuit; Patty Shwartz, Circuit Judge, United States Court of Appeals for the
Third Circuit; Jennifer P. Wilson, District Judge, United States District Court for
the Middle District of Pennsylvania

      AND NOW, on this 11th day of March, 2022, IT IS ORDERED THAT a

scheduling conference will be convened on Thursday, March, 17, 2022, at 3:00

p.m. via Zoom. A link will be circulated to counsel via email.



                                On behalf of the three-judge district court:

                                s/Jennifer P. Wilson
                                JENNIFER P. WILSON
                                United States District Court Judge
                                Middle District of Pennsylvania
